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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                 EASTERN DIVISION

 SYNKLOUD TECHNOLOGIES, LLC,


                     Plaintiff,                  Civil Action No. 1:20-cv-10564


 v.                                              JURY TRIAL DEMANDED


 NUANCE COMMUNICATIONS, INC.,


                     Defendant.



                STIPULATION REGARDING CLAIMS 51, 30, 31, AND 34-36

       Plaintiff SynKloud Technologies, LLC (“SynKloud”) and Defendant Nuance

Communications, Inc. (“Nuance”) hereby agree to the following:

       Should the Court deny SynKloud’s Motion for Reconsideration (ECF No. 129), (i)

SynKloud agrees to withdraw without prejudice its assertions of patent infringement of claim 51

of U.S. Patent No. RE 44,248 against Nuance; (ii) Nuance agrees to withdraw without prejudice

any counterclaims pertaining to SynKloud’s assertion of claim 34-36 and 51 of U.S. Patent No.

RE 44,248 against Nuance; (iii) SynKloud agrees that the Court’s Order (ECF No. 126) pertaining

to claim 29 also applies to claims 30 and 31; and (iv) Nuance agrees to withdraw its pending

Daubert motion (ECF No. 112) without prejudice to reasserting the motion should the Court grant

SynKloud’s Motion for Reconsideration or upon remand from appeal. Pursuant to Order No. 83,

SynKloud will pay Lamkin IP Defense $12,000 by October 17, 2022.




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      The Parties agree that this Stipulation would resolve all open issues between the Parties.

The Parties will file a proposed final order memorializing the above should the Court deny

SynKloud’s Motion for Reconsideration.




   Dated October 3, 2022

   LAMKIN IP DEFENSE

   /s/ Rachael Lamkin______________
   Rachael D. Lamkin (Cal. Bar #246066)            Respectfully Submitted by:
   (admitted pro hac vice on 6/18/20)
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   briana@branchlegal.com                          SynKloud Technologies, LLC
   Attorneys for Defendant
   Nuance Communications, Inc.



                                 CERTIFICATE OF SERVICE

      I hereby certify that on this date, I served the foregoing document on all attorneys of record.



  Dated: October 3, 2022                              /s/ Catherine Rajwani___
                                                      Catherine Rajwani




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